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                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                       Case No.: 8:23-cr-388-TPB-CPT

MATTHEW FREDERIC BERGWALL,
      Defendant.
______________________________________/

        DEFENDANT’S UNOPPOSED MOTION TO CONTINUE

      Defendant Matthew Frederic Bergwall, by and through undersigned

counsel, moves in advance of the December 18, 2023 status conference to

continue the trial term of this case from January 2024 to April 2024.

Undersigned counsel conferred with AUSA Gammons and was advised that

the Government does not oppose this motion.

      This is a complex case of alleged computer crime against a large national

company involving numerous transactions. The discovery provided by the

Government to date totals approximately 3.45 gigabytes of electronic data.

      Undersigned counsel only entered their appearances on November 16,

2023. This is Defendant’s first request for a continuance.




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Dated: November 30, 2023                      Respectfully submitted:

                                               /s/ Kevin Darken
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                         CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on November 30, 2023, I electronically filed

the foregoing with the Clerk of Court by using the CMF/ECF system, which

will send a notice of electronic filing to all counsel of record.


                                                    /s/ Kevin Darken
                                                    KEVIN DARKEN




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